Case: 1:20-cv-01908-DAP Doc #: 32 Filed: 09/16/20 1 of 47. PageID #: 743




                   EXHIBIT A
      Case: 1:20-cv-01908-DAP Doc #: 32 Filed: 09/16/20 2 of 47. PageID #: 744




                               1



 1         IN THE UNITED STATES DISTRICT COURT

 2          FOR THE NORTHERN DISTRICT OF OHIO

 3                 ~~~~~~~~~~~~~~~~~~~~

 4   A. PHILIP RANDOLPH

 5   INSTITUTE OF OHIO, et. al.,

 6

 7               Plaintiffs,

 8

 9         vs.              Case No.   1:20‐cv‐1908

10

11   FRANK LaROSE, in his

12   official capacity as

13   Ohio Secretary of State,

14

15               Defendant.

16                 ~~~~~~~~~~~~~~~~~~~~

17          Zoom Videoconference Deposition of

18                        CALEB FAUX

19
                    September 11, 2020
20                      4:42 p.m.

21                  Witness location:
                   7600 Sagamore Drive
22                  Cincinnati, Ohio

23                  Buster Beck, RPR
      Case: 1:20-cv-01908-DAP Doc #: 32 Filed: 09/16/20 3 of 47. PageID #: 745




24

25

                            2



 1   APPEARANCES:

 2

 3         On behalf of the Plaintiffs:

 4               The Chandra Law Firm LLC, by

 5               SUBODH CHANDRA, ESQ.

 6               The Chandra Law Building

 7               1265 W. 6th Street, Suite 400

 8               Cleveland, OH     44113

 9               (216) 578‐1700

10               Subodh.Chandra@ChandraLaw.com

11

12         On behalf of the Plaintiffs:

13               Dechert LLP, by

14               THEODORE E. YALE, ESQ.

15               2929 Arch Street

16               Philadelphia, PA     19104

17               (215) 994‐2455

18               Theodore.Yale@dechert.com

19

20

21
      Case: 1:20-cv-01908-DAP Doc #: 32 Filed: 09/16/20 4 of 47. PageID #: 746




22

23

24

25

                               3



 1   APPEARANCES, Continued:

 2

 3         On behalf of the Plaintiffs:

 4               Lawyers' Committee for Civil Rights

 5               Under Law, by

 6               POOJA CHAUDHURI, ESQ.

 7               1500 K Street, NW, Suite 900

 8               Washington, DC      20002

 9               (202) 662‐8600

10               pchaudhuri@lawyerscommittee.org

11

12         On behalf of the Defendant:

13               Office of the Ohio Attorney General,

14               by

15               MICHAEL SLIWINSKI, ESQ.

16               30 East Broad Street, 16th Floor

17               Columbus, OH      43215

18               (614) 466‐2872

19               Michael.Sliwinski@
      Case: 1:20-cv-01908-DAP Doc #: 32 Filed: 09/16/20 5 of 47. PageID #: 747




20               ohioattorneygeneral.gov

21

22

23

24

25

                               4



 1   APPEARANCES, Continued:

 2

 3         On behalf of the Proposed

 4         Intervenor‐Defendants Donald J. Trump for

 5         President, Inc.; the Ohio Republican

 6         Party; the Republican National Committee

 7         and the National Republican Congressional

 8         Committee:

 9               Jones Day, by

10               JOHN M. GORE, ESQ.

11               51 Louisiana Avenue, N.W.

12               Washington, D.C.     20001

13               (202) 879‐3930

14               jmgore@jonesday.com

15                      ~ ~ ~ ~ ~

16

17
      Case: 1:20-cv-01908-DAP Doc #: 32 Filed: 09/16/20 6 of 47. PageID #: 748




18

19

20

21

22

23

24

25

                              5



 1                     TRANSCRIPT INDEX

 2

 3   APPEARANCES...............................     2

 4

 5   EXAMINATION OF CALEB FAUX

 6   By Mr. Sliwinski..........................     6

 7

 8   REPORTER'S CERTIFICATE....................    41

 9

10   EXHIBIT CUSTODY

11   NO EXHIBITS MARKED

12

13

14

15
      Case: 1:20-cv-01908-DAP Doc #: 32 Filed: 09/16/20 7 of 47. PageID #: 749




16

17

18

19

20

21

22

23

24

25

                               6



 1                CALEB FAUX, of lawful age, called

 2   for examination, as provided by the Federal

 3   Rules of Civil Procedure, being by me first

 4   duly sworn, as hereinafter certified, deposed

 5   and said as follows:

 6               EXAMINATION OF CALEB FAUX

 7   BY MR. SLIWINSKI:

 8          Q.   Good afternoon, Mr. Faux.        How are

 9   you?

10          A.    Very well.       How are you?

11          Q.    I'm doing well.       Thank you for your

12   patience and thank you for being here today.

13   We appreciate it.
      Case: 1:20-cv-01908-DAP Doc #: 32 Filed: 09/16/20 8 of 47. PageID #: 750




14                    So just to start off, I understand

15   your last name is pronounced Faux?

16            A.      That's correct.

17            Q.      I want to make sure I get that

18   right.

19                    And Mr. Faux, have you ever had

20   your deposition taken before?

21            A.     Yes, I have.

22            Q.     Okay.   So I assume, then, you are

23   familiar with the need ‐‐ even though this is

24   being taken over Zoom, we still need verbal

25   answers to questions, and I'd ask you to wait

                                 7



 1   until I'm done with a question before you

 2   answer.       Do you understand all that?

 3            A.     I do.

 4            Q.     Do you have ‐‐ and if there's

 5   anything that's not clear that I ask you, if

 6   you could just stop me and I'll do my best to

 7   clarify it; fair enough?

 8            A.      Fair enough.

 9            Q.      And of course, if you need a break,

10   just let us know and we'll take a quick break;

11   all right?
      Case: 1:20-cv-01908-DAP Doc #: 32 Filed: 09/16/20 9 of 47. PageID #: 751




12         A.      Okay.

13         Q.      Mr. Faux, what is your current

14   occupation?

15         A.      Aside from my duties on the Board

16   of Elections, I am retired.

17         Q.      You're retired?

18         A.      Yes.

19         Q.      Okay.   And you said you were on the

20   county ‐‐ your affidavit states that you're on

21   the County Board of Elections in Hamilton

22   County; that's correct?

23         A.      That's correct, yes.

24         Q.      And how long have you been on that

25   board of elections?

                               8



 1         A.      I took office in March of 2010, so

 2   roughly 10 and a half years.

 3         Q.      And could you describe for me what

 4   your duties are as a member of the Board of

 5   Elections at Hamilton County?

 6         A.      It's the same as any other Board of

 7   Elections.    We oversee the operation of

 8   elections here in Hamilton County.

 9         Q.      And you have a director of the
     Case: 1:20-cv-01908-DAP Doc #: 32 Filed: 09/16/20 10 of 47. PageID #: 752




10   Board of Elections, I imagine?

11            A.       Yes, we do.

12            Q.      And what are ‐‐ I guess what I'm

13   getting at is, what are some of the differences

14   between what the director would be able to

15   handle and what would require a ‐‐ the Board's

16   approval.

17            A.      Well, the director and the deputy

18   director are basically in a position of

19   supervising the staff and overseeing daily

20   operations of the Board of Elections.          There

21   are many occasions where there are things that

22   do require the approval in a vote for the Board

23   of Elections.       We also oversee the hiring of

24   staff.        The way that works is, the two

25   Democrats oversee the Democratic employees and

                                     9



 1   the two Republicans on the Board, vice versa.

 2            Q.      When it comes to spending money at

 3   the Board, is there any requirement to get

 4   Board approval if it's, say over a certain

 5   amount?

 6         A.         We do vote on budgets and on

 7   expenditures, yes, sir.
     Case: 1:20-cv-01908-DAP Doc #: 32 Filed: 09/16/20 11 of 47. PageID #: 753




 8         Q.       Is there an amount that the

 9   director could spend without Board approval?

10   For instance, I would imagine if he's got to go

11   out and get copy paper, he can do that without

12   Board approval.     Is there a set amount that he

13   would be able to spend?

14         A.       In this case, it's a she, but I

15   can't say I specifically know the answers to

16   that question.

17         Q.       Fair enough.

18                  And are you familiar with the

19   different ways there are to vote in the State

20   of Ohio?

21         A.       Yes, I am.

22         Q.       And what different ways can

23   somebody vote in the State of Ohio?

24         A.       First of all, they can vote in

25   person on election day.          They can vote in

                                 10



 1   person at the Board of Elections during the

 2   early vote period; this year that will begin on

 3   October 6th.     Or, they can vote absentee.

 4         Q.       And is my understanding correct

 5   that if they vote in person on election day
     Case: 1:20-cv-01908-DAP Doc #: 32 Filed: 09/16/20 12 of 47. PageID #: 754




 6   they have to go to their polling location?

 7         A.     That's correct.

 8         Q.     Okay.   And is there also an option

 9   for somebody who perhaps is handicapped or for

10   some reason can't go into the polling location,

11   is there a curbside option available?

12         A.     Yes, there is.    And I should also

13   add, similarly, that for people who are

14   confined to nursing homes or are not able to

15   get to the polls, we do send a team of one

16   Democrat and one Republican to those locations

17   to allow people to vote from their beds in many

18   occasions.   But yes, we do allow for curbside

19   voting.

20         Q.     Okay.   And the nursing home and

21   hospital procedure you just described, that

22   would be similar to early in‐person voting and

23   the fact that even though you're filling out

24   your ballot in front of somebody, it's still

25   considered an absentee, right?

                             11



 1         A.     That's correct.

 2         Q.     So aside from those two options,

 3   what other ways are there to return your
     Case: 1:20-cv-01908-DAP Doc #: 32 Filed: 09/16/20 13 of 47. PageID #: 755




 4   absentee ballot to the Board of Elections?

 5         A.       First of all, you can walk in the

 6   door and hand it to the staff, and that is

 7   considered putting it in the possession of the

 8   director of the Board of Elections.      You can

 9   mail it.     And you can also put it in our drop

10   box, which we've had now for a little over

11   eight years, and that also is considered to

12   have been put in the possession of the director

13   of the Board of Elections.

14         Q.       Okay.   And how many drop boxes do

15   you have at the Hamilton County Board of

16   Elections?

17         A.       We have one outside the front door,

18   it's a drive‐up box.      And then, there's also a

19   box just inside the front door if people want

20   to walk in the front door and drop their ballot

21   in that box.     So basically two.   But they're

22   both on the premises at the Board of Elections.

23         Q.       And the drive‐up drop box ‐‐ I'm

24   not from Hamilton County, so I'm not familiar

25   with the area where your Board of Elections is.

                               12



 1   I looked it up on a Google map, and it appeared
     Case: 1:20-cv-01908-DAP Doc #: 32 Filed: 09/16/20 14 of 47. PageID #: 756




 2   to be almost ‐‐ the building is almost like a C

 3   shape.        There's ‐‐ behind the building there's,

 4   like, some sort of recess or ‐‐ I couldn't

 5   quite tell if there was a public road that went

 6   through there or ‐‐

 7            A.      No.      There's not a public road.

 8   There are two buildings there, they're kind of

 9   ‐‐ each is kind of a U shape or C shape, back

10   to back.        The Board of Elections right now

11   occupies the entirety of the southern building.

12   And we are temporarily leasing space in the

13   other building for this election for the

14   purpose of early voting.            Our drop box is not

15   too far from the main front door of the Board

16   of Elections; it's a drive‐up box that's in the

17   parking lot.       Somebody can drive through, and

18   there is an outlet onto the street not far from

19   there.

20            Q.       Okay.     And I think that may answer

21   my question.        So your Board of Elections is

22   located on Smith Road, correct?

23            A.      That's right.

24            Q.      Okay.      And so, the drop box, is

25   that in front of the building on the Smith Road

                                    13
     Case: 1:20-cv-01908-DAP Doc #: 32 Filed: 09/16/20 15 of 47. PageID #: 757




 1   side, or is it on the opposite side of the

 2   building, I think you said back by the parking

 3   lot?

 4          A.     It's basically on the Smith Road

 5   side of the building, yes.

 6          Q.     Okay.    And we talked about the

 7   different way that you can return an absentee

 8   ballot.     And I noticed in your affidavit you

 9   said voters cannot return a voted absentee

10   ballot to a precinct polling location; is that

11   accurate?

12          A.     That is accurate, yes.

13          Q.     Have you run into situations since

14   you've been a Board member where you've had

15   people that have tried to return them to the

16   polling location?

17          A.     Not that I can recall, no.

18          Q.     And in past elections, have you had

19   any kind of issues at all with the location or

20   access to or traffic jams with your drop box?

21          A.      No.    The only time we've really had

22   a problem with that was in April of this year

23   at the primary.       In the past, that's run pretty

24   smoothly.    We've really never had any problem
     Case: 1:20-cv-01908-DAP Doc #: 32 Filed: 09/16/20 16 of 47. PageID #: 758




25   with the drop box at our current location,

                                 14



 1   which we've been at now for a little over two

 2   years.        Actually, maybe three.   We had a drop

 3   box in our previous location, we didn't have

 4   any problems with that one either.

 5            Q.      Okay.   And in your affidavit you

 6   describe a problem on April 28th where there

 7   was a point that in the early evening there

 8   were lines of cars waiting to get into the drop

 9   box, the lines extended onto the four‐lane

10   highway.

11            A.      Yeah.

12            Q.      And that was ‐‐ you described it as

13   on April 28th; was that the last day or voting?

14            A.       Yes, that was.   The deadline to

15   return the ballot to the drop box was 7:30 that

16   evening.       Our location is immediately adjacent

17   to State Route 62, it's a four‐lane highway

18   locally known as the Norwood Lateral.         But

19   there was traffic backed up for quite some

20   distance both eastbound and westbound, trying

21   to get off of that four‐lane highway to deliver

22   ballots to the Board of Elections.
     Case: 1:20-cv-01908-DAP Doc #: 32 Filed: 09/16/20 17 of 47. PageID #: 759




23            Q.    Did you ‐‐

24            A.    I should clarify.

25                  By the time it got to 7:30, that

                                 15



 1   line had died down and no longer extended out

 2   onto the four‐lane highway, it extended out

 3   onto the street in front of our building.          So

 4   it went well beyond the parking lot, but it was

 5   no longer out to the four‐lane highway.

 6            Q.    Okay.    And did you have any issues

 7   like that on any other days during the March

 8   primary?

 9            A.   Not that I know of.

10            Q.   Okay.    And how many days can

11   somebody return an absentee ballot to the Board

12   of Elections?    How many days of early voting is

13   there?

14            A.    Well, normally it's 30 days.    So in

15   this case, early voting will begin on October

16   6th.     Ballots will go in the mail.    It will

17   probably take four or five days before people

18   get those.    So it's a little less than 30 days

19   for most people.       And of course this year is

20   going to depend a little bit on the performance
     Case: 1:20-cv-01908-DAP Doc #: 32 Filed: 09/16/20 18 of 47. PageID #: 760




21   of the post office.

22            Q.       So ‐‐ and actually, in the March

23   primary, just because of the way it occurred,

24   people would have had that 25 to 30 days prior

25   to March 17th as well as anything from March

                                  16



 1   17th to April 28th; is that correct?

 2            A.       Yeah.   First of all, they would

 3   have had the 30 days prior to March 17th.            And

 4   then, secondly, there was a little bit of

 5   confusion for a few days there after March 18th

 6   while the legislature tried to sort out what

 7   was going to happen.         But in essence, yes,

 8   there was roughly another 30‐day period there

 9   where people could return their ballot to the

10   Board.        So prior to the 28th they could have

11   brought it back.

12            Q.      Okay.    And then ‐‐ and just to ‐‐ I

13   just want to make sure I heard you correctly.

14   You said that April 28th was the only day that

15   you had the problem with the car lines?

16            A.      Car lines extending off of our

17   property, that I know of.

18            Q.      Fair enough.
     Case: 1:20-cv-01908-DAP Doc #: 32 Filed: 09/16/20 19 of 47. PageID #: 761




19               Now, have you guys looked into any

20   ideas or had any thoughts about different ways

21   to deal with the traffic in the upcoming

22   general election?

23         A.    Well, we are in the jurisdiction of

24   the City of Norwood, so we are working with the

25   police department to try and make sure that we

                           17



 1   have police officers out there to help manage

 2   the traffic that will take place.   I say in my

 3   affidavit, and I think it's true, that the

 4   normal practice at the polling place is that an

 5   election official is placed at the end of the

 6   line, wherever that line extends to at the

 7   polling location, so that anybody who's in line

 8   at 7:30 is still permitted to go into the

 9   polling place and cast their ballot.

10               Similarly with the line of cars

11   trying to get to that drop box, we send an

12   elections official out there to mark the end of

13   that line so that we could ensure that

14   everybody who was waiting in that line at 7:30

15   was able to deliver their ballot.

16               I would add that part of what
     Case: 1:20-cv-01908-DAP Doc #: 32 Filed: 09/16/20 20 of 47. PageID #: 762




17   happened there was that in order to move that

18   line more quickly, we basically put a team of

19   one Republican and one Democrat at another

20   location in the lot so that the line coming

21   onto our property was split, and they were just

22   simply taking their ballot and putting it into

23   a plastic mail tray, if you will.    And the same

24   was true where the drop box was.    So in

25   essence, at that point, the ballots were never

                             18



 1   getting to the drop box, they were going into

 2   this plastic bin.    But they were being taken by

 3   one Democrat and one Republican.

 4           Q.   So once you started doing that, is

 5   that what kind of helped improve the flow of

 6   traffic so that you could get to the 7:30 point

 7   without still spilling onto the freeway?

 8           A.   Yes.   That did help manage the

 9   line.

10                My concern in my affidavit ‐‐ and I

11   very ‐‐ I'm very concerned about this, is that

12   the volume of people voting in that primary was

13   fairly modest compared to what we're going to

14   see in November.    In fact, I think we had about
     Case: 1:20-cv-01908-DAP Doc #: 32 Filed: 09/16/20 21 of 47. PageID #: 763




15   138,000 ballots cast in the primary in Hamilton

16   County.     About 33,000 of those were cast prior

17   to the March 17th or in that original period.

18   So slightly over 100,000 ballots were cast in

19   the interim between the 17th and the 28th.

20                 We're very likely to have 480,000

21   ballots cast in November.     And so,

22   correspondingly, the pressure on that drop box

23   is going to be much, much greater than it was

24   in April.    And given the amount of concern

25   people have about what's going on with the post

                              19



 1   office, I expect a lot more people to be trying

 2   to utilize that drop box than we would normally

 3   see.

 4          Q.      So when you say there's likely to

 5   be 480,000 votes, what do you ‐‐ how do you

 6   come up with that number?

 7          A.      It's just based on what we've seen

 8   in past presidential elections.     We have

 9   roughly 600,000 registered voters in Hamilton

10   County.     So based on past turnout, I think

11   that's a reasonable projection.     I think our

12   director and deputy director, they both floated
     Case: 1:20-cv-01908-DAP Doc #: 32 Filed: 09/16/20 22 of 47. PageID #: 764




13   numbers along those lines.       So it could go

14   higher.      I doubt it will be much less.   But

15   that would be reflective of what we have seen

16   here in Hamilton County in presidential years.

17           Q.     And going back to the drop boxes,

18   if you could ‐‐ if you know, how long does it

19   take to drop a ballot in the drop box?

20           A.     Just a second or two.    It's very

21   easy.

22           Q.     And then ‐‐ and that was before you

23   had the teams out there with the mailboxes ‐‐

24   the plastic mail cartons?

25           A.     Yes.

                                20



 1           Q.      So once they did that, then I

 2   imagine it went a lot faster?

 3           A.      Yeah.   I would think it would.

 4           Q.      And I believe in your affidavit you

 5   referenced a motion that you introduced to

 6   investigate the cost and feasibility of placing

 7   four additional drop boxes in secure locations

 8   in downtown Cincinnati and in suburbs in the

 9   west and north and east sections of Hamilton

10   County; is that correct?
     Case: 1:20-cv-01908-DAP Doc #: 32 Filed: 09/16/20 23 of 47. PageID #: 765




11         A.     That is correct, yes.

12         Q.     And how did you determine ‐‐ let me

13   ask you this; could you describe for me how far

14   that process went?

15         A.     I can't quite understand your

16   question.   Say that again.

17         Q.     So you introduced a motion, and the

18   motion passed.

19         A.     Yes.

20         Q.     And at some point it said that the

21   staff had begun accepting bids.      Could you

22   describe for me the process that the Board or

23   the director went through to get from the point

24   of the motion passing to accepting bids?

25         A.    I was not specifically familiar

                             21



 1   with the steps that they took.    I know they did

 2   receive bids.    I saw those bids at the time.

 3   They did not go the next step, which was to

 4   look into the locations that I had suggested.

 5   The ones ‐‐ the locations I was suggesting are

 6   all government facilities, and I did that

 7   because I thought that would make it easier for

 8   us to make sure that we had adequate
     Case: 1:20-cv-01908-DAP Doc #: 32 Filed: 09/16/20 24 of 47. PageID #: 766




 9   surveillance, 24‐hour video surveillance and

10   adequate security.        And the four locations I

11   suggested were also fairly evenly distributed

12   geographically both east, west, north and

13   south.        So I was trying to make it as easy and

14   feasible as possible for us to get that done.

15                    We got no further than soliciting

16   and receiving bids before we received direction

17   from the secretary of state's office that we

18   should do nothing further.        And at that point,

19   our director took the position that we should

20   not make any further steps to investigate the

21   feasibility of those four boxes.

22            Q.       So the initial motion, the

23   location, those were suggestions that you gave;

24   is that correct?

25            A.       That's correct, yes.

                                 22



 1            Q.       And you said they were all located

 2   at some sort of government facility.           Could you

 3   describe what government facilities you were

 4   looking at?

 5            A.      Well, in the case of the downtown

 6   location, our county offices are downtown, our
     Case: 1:20-cv-01908-DAP Doc #: 32 Filed: 09/16/20 25 of 47. PageID #: 767




 7   county courthouse is downtown, so that was what

 8   I was suggesting for the downtown location.

 9   There's already security around both of these

10   buildings, they're right next to each other.

11               On the east side, I was suggesting

12   the Anderson Township administrative buildings.

13   They have a police station there as well as

14   their administration building, so that seemed

15   fairly logical; and, it's a very central

16   location out on the east side of the county.

17               In the northern portion of the

18   county, I was suggesting either the Springdale

19   city buildings, possibly the Forest Park city

20   buildings, but ‐‐ and on the west side, either

21   the City of Cheviot, or possibly Green

22   Township, although that's a little further out.

23   Cheviot seemed, to me, to make more sense.

24               So all of the places that I

25   suggested were government facilities that I

                           23



 1   thought already primarily had some security or

 2   agents that we could be working with.

 3         Q.    And I'm going to come back to the

 4   downtown location, but the east, north and west
     Case: 1:20-cv-01908-DAP Doc #: 32 Filed: 09/16/20 26 of 47. PageID #: 768




 5   locations, that was a mix of municipalities and

 6   townships?

 7         A.      Yes.

 8         Q.      Okay.     And would you ‐‐ would you

 9   have had to negotiate any sort of memorandums

10   of understanding or any types of contracts with

11   those municipalities or townships?

12         A.      I assume that would have happened

13   had we gone that next step of contacting those

14   jurisdictions.       And obviously, it's a little

15   different when we're working with the County

16   because the Hamilton County Board of Elections

17   is part of the county.          The other three are not

18   county, per se.       But yes, we would have

19   certainly negotiated some kind of an agreement

20   with those groups.

21         Q.      Okay.     And your affidavit says you

22   had looked at four locations in downtown

23   Cincinnati.    You mentioned the county office

24   building and the county courthouse.          Were those

25   two separate locations?

                                24



 1         A.      Well, they're right next to each

 2   other; right across the street from each other.
     Case: 1:20-cv-01908-DAP Doc #: 32 Filed: 09/16/20 27 of 47. PageID #: 769




 3   Just ‐‐ those are the only two I was suggesting

 4   in downtown.     But they're literally right

 5   across the street from each other.

 6         Q.       So everything downtown would have

 7   been in one location, essentially?

 8         A.     Yes.    Correct.

 9         Q.    And I think I heard you say ‐‐

10   correct me if I'm wrong ‐‐ that the ‐‐ once the

11   motion had gotten to the director, they hadn't

12   gotten to the point of selecting locations?

13         A.       They ‐‐ they went the step of

14   soliciting bids from vendors, which they

15   received.   They did not go the step of

16   contacting those local jurisdictions because we

17   got that directive from the secretary of state

18   relatively soon after that happened.      So there

19   was relatively a brief period of time where any

20   action could occur on that before that

21   directive was issued.

22         Q.     So when you ‐‐ if you know this

23   answer ‐‐ when you ‐‐ when the staff had begun

24   accepting bids, I assume there's some sort of

25   request for proposal for bids, or somehow you

                              25
     Case: 1:20-cv-01908-DAP Doc #: 32 Filed: 09/16/20 28 of 47. PageID #: 770




 1   sent out a request asking for bids.    Had you

 2   come up with any type of standards for the

 3   boxes you were looking for in terms of size,

 4   appearance, anything like that?

 5           A.   I didn't have anything to do with

 6   that process.    I believe that was assigned to

 7   our deputy director, Sally Krisel, but I was

 8   not involved in the specifics of that request

 9   for proposal.

10           Q.   Do you know how many ballots your

11   current drop boxes hold?

12           A.   I don't know the specific capacity.

13   When we get into a busy season, that box gets

14   emptied two, three times a day.    I don't know

15   the maximum number of ballots it could hold.

16   It's a pretty good size box, so I would say,

17   just off the top of my head, it probably could

18   hold as many as a couple thousand, but I don't

19   know for sure.

20           Q.   And you say when it starts getting

21   busy, that box gets emptied several times a

22   day?

23           A.   Yes.   Morning, evening and midday.

24   And if it gets busy enough, more often than

25   that.
     Case: 1:20-cv-01908-DAP Doc #: 32 Filed: 09/16/20 29 of 47. PageID #: 771




                              26



 1         Q.    And could you explain to me the

 2   process of how it's emptied?

 3         A.    Again, we send both a Democrat and

 4   Republican staff member out to the box to

 5   unlock it and take the contents out and bring

 6   it back outside and get it checked in as having

 7   been received.

 8         Q.    And when you presented your motion,

 9   either at that time when you presented the

10   motion or when it actually went to the pass or

11   went to the director, was there any discussion

12   about how you would staff or empty these other

13   drop boxes if they became so full that they

14   couldn't hold any more ballots?

15         A.    Well, there was a little bit of

16   discussion about it, but not a great deal, and

17   nothing very specific.        I think what I said was

18   that I would assume that we would be sending

19   staff people to those locations to empty them

20   on a daily basis, if not more often, depending

21   on the volume that we were receiving.        But we

22   didn't really get into specifics beyond that.

23         Q.    So if the ‐‐ but for the directive,
     Case: 1:20-cv-01908-DAP Doc #: 32 Filed: 09/16/20 30 of 47. PageID #: 772




24   if you would have received these bids, is that

25   something that you would anticipate the Board

                              27



 1   would have had to vote on to accept one of

 2   those bids?

 3         A.      Oh, yes.

 4         Q.      And in the last paragraph of your

 5   affidavit, you stated that you believe only

 6   having one drop box creates a risk to public

 7   safety and a risk that voters will not be able

 8   to return their absentee ballots in time to be

 9   counted.   And what is the basis for your

10   opinion that it would create a risk to public

11   safety?

12         A.      Well, if ‐‐ speaking of what

13   happens on the 28th, if we have a significantly

14   larger volume of people trying to bring ballots

15   back as we approach November 3rd ‐‐ on November

16   3rd and maybe even the night before, I don't

17   know ‐‐ and those lines extend well out onto

18   the highway, that creates a safety risk all by

19   itself.

20                 It would become difficult for us to

21   mark the end of a line that extended a mile and
     Case: 1:20-cv-01908-DAP Doc #: 32 Filed: 09/16/20 31 of 47. PageID #: 773




22   a half down a four‐lane highway.     How do you do

23   that?    Do you send a police car out there to

24   mark the end of the line?     And we have ‐‐

25   that's not the only way you can get to the

                              28



 1   Board of Elections.     There are at least three

 2   or four routes that you could take using other

 3   streets.    Montgomery Road, which is, I believe,

 4   State Route 22, goes right past the Board of

 5   Elections, so you could have a line both north

 6   and south down there.     There's a road extending

 7   over to the Hyde Park neighborhood, actually

 8   Smith Road, you can have a line on that street,

 9   too.    So how do you mark the ends of all those

10   lines when they're way out there on the ends of

11   the streets?     That's a really difficult

12   situation.     And it could well be that we wind

13   up with people trying to get to the Board of

14   Elections at 7:30, and they just can't do it.

15   That's basically what I was referring to.

16                  But I think the other value I see

17   in these boxes, if they're out where they are,

18   where I was suggesting, is really a timeliness

19   issue, because once the ballot is deposited in
     Case: 1:20-cv-01908-DAP Doc #: 32 Filed: 09/16/20 32 of 47. PageID #: 774




20   that box and retrieved by our staff it is

21   considered to be in the possession of the

22   director.   So that's a much quicker process

23   than putting it in the mail and waiting however

24   many days it takes for the mail to be delivered

25   to the Board of Elections.     So when you get

                            29



 1   down to the tail end of this whole process,

 2   that's a much faster way of getting it done

 3   than putting it in the mail.

 4                And then, I have a real concern

 5   about mail being delivered in a timely manner.

 6   We didn't have that occur in Hamilton County in

 7   April.   We didn't have any ballots coming in

 8   beyond the 10‐day window.    But Butler County

 9   just to our north did have ballots coming in 14

10   days, 15 days out, and ballots were being

11   discarded not through any fault of the voter;

12   they did everything they were supposed to do,

13   but the ballots simply didn't get there because

14   the post office didn't deliver it on time.

15   It's my understanding that that was even more

16   true in other counties around the state.

17                I know there was a problem in the
     Case: 1:20-cv-01908-DAP Doc #: 32 Filed: 09/16/20 33 of 47. PageID #: 775




18   Toledo area.     I've been told there was a

19   problem in Greene County, where the governor is

20   from.    Maybe as many 1,500 ballots rejected

21   because they didn't arrive on time.        And I

22   think, given the public climate and the talk

23   about the post office, the pressure on that

24   drop box is going to be significantly larger in

25   November.

                                 30



 1           Q.     And you have ‐‐ it sounds like you

 2   heard about these other problems, but you don't

 3   have any personal experience with Butler County

 4   or Greene County or ‐‐

 5           A.     No.     I don't have personal

 6   experience, I just am aware of the reports.

 7           Q.     And your personal experience is in

 8   Hamilton County, where you said none of the

 9   ballots came in after the deadline, right?

10           A.     That's correct.     Yes.

11           Q.     Okay.     And you had mentioned the

12   post office.     Well, that kind of answers

13   that ‐‐ you haven't had issues with the post

14   office in Hamilton County?

15           A.     Generally not, no.     We've been able
     Case: 1:20-cv-01908-DAP Doc #: 32 Filed: 09/16/20 34 of 47. PageID #: 776




16   to work fairly well with the post office.     I

17   seem to recall ‐‐ and I can't be very specific

18   about it, but we had occasional, rare instances

19   of ballots properly postmarked arriving more

20   than 10 days after election day; but, that's

21   been a relatively isolated situation in the

22   past, not something I would consider to be a

23   major problem, I just am concerned that it

24   could be this year.

25         Q.    And you said you have a relatively

                           31



 1   good relationship with the post office?

 2         A.    Not me personally, but I know our

 3   staff has been working very hard to make sure

 4   they have good contacts with the post office

 5   and that they're doing everything they can to

 6   facilitate what needs to happen.

 7         Q.    And I don't know the answer to

 8   this; does the post office physically deliver

 9   all of the ballots to the Board of Elections,

10   or is there a process where members of the

11   board go to the post office to pick up ballots?

12         A.    Well, the Norwood branch of the

13   post office is not more than, I don't know, a
     Case: 1:20-cv-01908-DAP Doc #: 32 Filed: 09/16/20 35 of 47. PageID #: 777




14   mile down the street from our board.      If I

15   understand it correctly, somebody from our

16   staff goes over to that building and picks up

17   the trays of ballots.      On Tuesday of this week,

18   I think they had ‐‐ I was told they had 20

19   trays of absentee applications delivered.        It

20   was a little over 12,000 applications in just

21   one day.   So that's a lot.     I would believe the

22   way they do it is, we send our staff people

23   over to the post office building to pick them

24   up.

25         Q.    Have you had any issues with your

                               32



 1   drop boxes overflowing with absentee ballot

 2   applications?

 3         A.     Not that I'm aware of, no.

 4         Q.     And can you recall any time where

 5   you've had any issues with any irregularities

 6   with the drop boxes at the Board of Elections?

 7         A.    No.      I can't.

 8         Q.     And are you familiar with the term

 9   "ballot harvesting"?

10         A.     I am.

11         Q.    And what is that?
     Case: 1:20-cv-01908-DAP Doc #: 32 Filed: 09/16/20 36 of 47. PageID #: 778




12         A.     Ballot harvesting would be ‐‐ I've

13   seen a few people even suggest this.      And when

14   I hear them suggesting it, I make sure I tell

15   them that this is not legal.   One example might

16   be encouraging members of a church to bring

17   their ballots to the church, and then one

18   member of the church would take them all down

19   to the Board of Elections at once.     Or, you get

20   ‐‐ send somebody around door to door within a

21   certain neighborhood and pick them all up, and

22   then one person would be delivering them.

23   Those are just a couple of examples.

24                But legally in Ohio, the only

25   people who can deliver ballots to the Board of

                             33



 1   Elections are either the voter themselves, or

 2   specified members of their family, their

 3   household.   So anything beyond that could be, I

 4   suppose, termed to be ballot harvesting.

 5         Q.     Have you ever had any issues like

 6   that at the Hamilton County Board of Elections

 7   since you've been there?

 8         A.     Not that I'm aware of, no.

 9         Q.     Okay.   Does the Board of Elections
     Case: 1:20-cv-01908-DAP Doc #: 32 Filed: 09/16/20 37 of 47. PageID #: 779




10   have any type of educational outreach?

11           A.   You mean reaching out to voters to

12   make sure they understand ‐‐

13           Q.   Correct.   Explaining the different

14   ways to vote and where they can vote and how to

15   vote.

16           A.   Yeah.   Absolutely we do.     We're ‐‐

17   particularly this year, there's a rather robust

18   effort on Facebook, for example, to send out

19   information that explains all the details, the

20   deadlines and the options that voters have.       We

21   also work with our local press to make sure

22   that they try and put that information out as

23   well.

24           Q.   Have you been putting any emphasis

25   in your voter education about trying to make

                             34



 1   sure that you vote as early as you can?

 2           A.   Absolutely.     Yes.

 3           Q.   And why would you encourage people

 4   to vote earlier?

 5           A.   Well, for two reasons.      One of them

 6   just has to do with the concerns about the

 7   burden on the post office.      I mean, it's clear,
     Case: 1:20-cv-01908-DAP Doc #: 32 Filed: 09/16/20 38 of 47. PageID #: 780




 8   I think to everybody, that the percentage of

 9   ballots that are going to be arriving as

10   absentee ballots is going to be much, much

11   higher.

12               Normally in an election in Hamilton

13   County, somewhere between 20, 25 percent of the

14   ballots come in as absentee ballots.        I think

15   it could easily ‐‐ could be 50 to 60 percent,

16   if not more this time.        So yeah, we have been

17   encouraging people to do that and do it as

18   promptly as possible.

19               And then, secondly, it also allows

20   us to process because the way in Ohio ‐‐ and

21   I'm glad we have this system in Ohio compared

22   to, for example, what Michigan does.        As those

23   ballots are coming in, they are being reviewed

24   by a team of one Democrat and one Republican to

25   make sure that all the required information is

                              35



 1   there on the outside envelope.        And once we

 2   have verified that, the ballots are opened and

 3   they're pushed through a scanner just like they

 4   would be put through a scanner in the polling

 5   place on election day.        The only difference
     Case: 1:20-cv-01908-DAP Doc #: 32 Filed: 09/16/20 39 of 47. PageID #: 781




 6   being, that we don't make any count until 7:30

 7   on election night.     But the ability to go

 8   through that process in the weeks leading up to

 9   election day relieves the burden and the crunch

10   at the end right at election day.

11                  We had ‐‐ in April, we had ‐‐ we

12   weren't able to produce a number ‐‐ a results

13   number until 4:30 in the morning partly because

14   we received 17,000 absentee ballots just that

15   one day through the mail and through our drop

16   box.     And it took us until 4:30 in the morning

17   just to be able to process that 17,000.        So the

18   more we can get processed prior to election

19   day ‐‐

20                  (Video and audio froze.)

21                  MR. SLIWINSKI:    I think he might

22   have froze up.

23                  MR. CHANDRA:   So you trailed off

24   with; The more we can get processed before

25   election day ‐‐

                              36



 1                  THE WITNESS:     Pardon?

 2            Q.    You had said; The more that we can

 3   get processed before election day, and then
     Case: 1:20-cv-01908-DAP Doc #: 32 Filed: 09/16/20 40 of 47. PageID #: 782




 4   your screen froze and we didn't quite catch the

 5   rest of what you said.

 6         A.    I was just going say, the more we

 7   get processed before election day the better we

 8   all are because it just relieves the burden of

 9   what has to happen actually on election night.

10         Q.    And you had mentioned ‐‐

11         A.    Just so you know, I've been having

12   a little bit of difficulty with my internet

13   connection here, so it comes and goes.     Right

14   now it looks pretty strong.

15         Q.    You had mentioned some concerns

16   that you might have with the post office.

17   Where do those concerns come from?

18         A.    Well, that's really a product of

19   the national news, and that ‐‐ unfortunately,

20   the statements of the president himself, who

21   has cast dispersions on absentee balloting

22   through the mail.   He suggested the whole thing

23   is open to fraud, which it's not.    We have had

24   a lot of questions raised about the post office

25   and how those operations are being modified in

                              37



 1   terms to overtime and removal of sorting
     Case: 1:20-cv-01908-DAP Doc #: 32 Filed: 09/16/20 41 of 47. PageID #: 783




 2   equipment.     So all that has planted doubt in

 3   the minds of the public as to how reliable the

 4   post office is.

 5                  It may well be true that the post

 6   office is going to be able to perform well and

 7   that there won't be problems, but the reality

 8   is, at this stage, what has occurred already is

 9   planting doubts in the minds of the public,

10   which I think is going to result in more

11   pressure on our drop box.

12         Q.       And so, that's obviously where your

13   concerns come from.     And just to reiterate,

14   though ‐‐ but in practice in Hamilton County,

15   it hasn't really been a problem yet?      You've

16   heard some of these things in the news and

17   there's a lot of things on the news, but in

18   practice, you have not had, as a member of ‐‐

19   as long as you've been on the Board of

20   Elections in Hamilton County, you have not had

21   any actual problems with the post office?

22         A.       Not that I know of, no.

23         Q.       Okay.

24                  MR. SLIWINSKI:   I think that's all

25   that I have.

                              38
     Case: 1:20-cv-01908-DAP Doc #: 32 Filed: 09/16/20 42 of 47. PageID #: 784




 1                I don't know if anybody's has

 2   anything else?

 3                MR. CHANDRA:     I might.   I don't

 4   think so, but let's just take another

 5   five‐minute break, and then we'll be right

 6   back.   It's about 5:24 now.     If we reconvene at

 7   5:30, then we may just be done, or I may have a

 8   handful of questions.

 9                     (Recess had.)

10                MR. CHANDRA:     I don't have any

11   questions.

12                I just wanted to make sure you

13   understood that you have the right to read your

14   transcript and make any corrections to it that

15   you think are appropriate.      Do you want to

16   assert that right, or do you want to waive

17   that?

18                THE WITNESS:     I'm content to waive

19   that.   I can't think of anything that I regard

20   as having been a problem.

21                MR. CHANDRA:     Okay.

22                Mike, do you have anything else?

23                MR. SLIWINSKI:     No, I don't.

24                Mr. Faux, thanks for ‐‐ thank you
     Case: 1:20-cv-01908-DAP Doc #: 32 Filed: 09/16/20 43 of 47. PageID #: 785




25   for being here for your depo.   I appreciate

                           39



 1   your patience with the late start, and good

 2   luck in November.

 3       (The deposition concluded at 5:30 p.m.)

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22
     Case: 1:20-cv-01908-DAP Doc #: 32 Filed: 09/16/20 44 of 47. PageID #: 786




23

24

25

                            40



 1   Whereupon, counsel was requested to give

 2   instruction regarding the witness's review of

 3   the transcript pursuant to the Civil Rules.

 4

 5                       SIGNATURE:

 6   It was agreed by and between counsel and the

 7   parties that the reading and signing of the

 8   transcript of said deposition, be and the same

 9   is hereby waived.

10

11                 TRANSCRIPT DELIVERY:

12   Counsel was requested to give instruction

13   regarding delivery date of transcript.

14

15   Sliwinski ‐ original transcript, 3‐day expedite

16

17   Kenny ‐ copy transcript, 3‐day expedite

18

19

20
     Case: 1:20-cv-01908-DAP Doc #: 32 Filed: 09/16/20 45 of 47. PageID #: 787




21

22

23

24

25

                               41



 1                REPORTER'S CERTIFICATE

 2   The State of Ohio,    )

 3                                  SS:

 4   County of Cuyahoga.   )

 5

 6               I, Buster Beck, a Notary Public

 7   within and for the State of Ohio, duly

 8   commissioned and qualified, do hereby certify

 9   that the within named witness, CALEB FAUX, was

10   by me first duly sworn to testify the truth,

11   the whole truth and nothing but the truth in

12   the cause aforesaid; that the testimony then

13   given by the above‐referenced witness was by me

14   reduced to stenotypy in the presence of said

15   witness; afterwards transcribed, and that the

16   foregoing is a true and correct transcription

17   of the testimony so given by the

18   above‐referenced witness.
     Case: 1:20-cv-01908-DAP Doc #: 32 Filed: 09/16/20 46 of 47. PageID #: 788




19                  I do further certify that this

20   deposition was taken at the time and place in

21   the foregoing caption specified and was

22   completed without adjournment.

23

24

25

                              42



 1                  I do further certify that I am not

 2   a relative, counsel or attorney for either

 3   party, or otherwise interested in the event of

 4   this action.

 5                  IN WITNESS WHEREOF, I have hereunto

 6   set my hand and affixed my seal of office at

 7   Cleveland, Ohio, on this 14th day of

 8   September, 2020.

 9

10

11

12
                          <%2208,Signature%>
13                  ________________________________

14                  Buster Beck, Notary Public

15                  within and for the State of Ohio

16
     Case: 1:20-cv-01908-DAP Doc #: 32 Filed: 09/16/20 47 of 47. PageID #: 789




17   My commission expires February 22, 2025.

18

19

20

21

22

23

24

25
